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 1    MARK J. CONNOT (10010)
      COLLEEN E. MCCARTY (13186)
 2    FOX ROTHSCHILD LLP
      1980 Festival Plaza Drive, Ste. 700
 3    Las Vegas, NV 89135
      Telephone: 702.262.6899
 4    Facsimile: 702.597.5503
      mconnot@foxrothschild.com
 5    cmcarty@foxrothschild.com
      Liaison Counsel for Defendants
 6
      MICHAEL VAN RIPER (Pro Hac Vice Pending)
 7    NATALIE SHKOLNIK (Pro Hac Vice Pending)
      AARI ITZKOWITZ (Pro Hac Vice Pending)
 8    JAY AUSLANDER (Pro Hac Vice Pending)
      WILK AUSLANDER LLP
 9    825 Eighth Avenue, Ste. 2900
      New York, NY 10019
10    Telephone: 212-421-2902
      Facsimile: 212-752-6380
11    mvanriper@wilkauslander.com
      nshkolnik@wilkauslander.com
12    aitzkowitz@wilkauslander.com
      jauslander@wilkauslander.com
13    Counsel for Defendants
14
                                  UNITED STATES DISTRICT COURT
15
                                         DISTRICT OF NEVADA
16
      IN RE CLEANSPARK, INC. DERIVATIVE                  Case No. 2:21-cv-01004-GMN-BNW
17    LITIGATION

18                                                       JOINT STIPULATION AND [Proposed]
      This Document Relates to:                          ORDER TO STAY THIS MATTER
19
               ALL ACTIONS.
20

21

22             Plaintiffs Andrea Ciceri and Mark Perna (“Plaintiffs”), both derivatively on behalf of
23    Nominal Plaintiff CleanSpark, Inc. (“CleanSpark”) and Defendants Zachary K. Bradford, Lori L.
24    Love, S. Matthew Schultz, Roger P. Beynon, Larry McNeill, Thomas L. Wood, and Nominal
25    Defendant CleanSpark (“Defendants”) (collectively, with Plaintiffs, the “Parties”), by and
26    through their undersigned counsel, hereby enter into the following stipulation and proposed
27    order:
28             WHEREAS, on October 26, 2021, this Court issued an Order from the bench setting the
                                                     1
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 1    following schedule for Plaintiffs’ anticipated amended complaint and Defendants’ anticipated

 2    motion to dismiss:
 3           1.      Plaintiffs shall file their amended complaint, if any, on or before November 25,
 4                   2021;
 5           2.      Defendants shall file their motion to dismiss the amended complaint, if any, on or
 6                   before January 20, 2022;
 7           3.      Plaintiffs shall file their opposition to Defendants’ motion to dismiss the amended
 8                   complaint, if any, on or before March 3, 2022;
 9           4.      Defendants shall file their reply in further support of their motion to dismiss the
10                   amended complaint, if any, on or before April 10, 2022; and
11           WHEREAS, on November 2, 2021, the Court issued an Order endorsing the Parties’
12    Joint Rule 26(f) Conference Report and Joint Discovery Plan (ECF No. 34), in which the Parties
13    “reserve[d] the right to move for a stay of these proceedings in whole or in part”; and
14           WHEREAS, the Parties have now agreed to seek a complete stay of this matter on the
15    terms set forth below pending resolution of an anticipated motion to dismiss by all defendants in
16    the securities class action currently pending before the Hon. Loretta Preska in the Southern
17    District of New York, Bishins v. CleanSpark, Inc. et al., No. 21-cv-511 (LAP) (the “Securities
18    Class Action”); and
19           WHEREAS, the resolution of the anticipated motion to dismiss in the Securities Class
20    Action may significantly narrow the scope of the issues raised by the Parties in this matter,
21    thereby conserving judicial time and resources as well as the time and resources of the Parties;
22           IT IS HEREBY STIPULATED by and between the Parties that:
23           1.      This matter is hereby stayed.
24           2.      The stay of proceedings in this matter shall be terminated immediately upon
25                   denial in whole or in part of the anticipated motion to dismiss by all defendants in
26                   the Securities Class Action, but the granting of that motion to dismiss with leave
27                   to amend shall not constitute a denial of the motion unless the plaintiffs in the
28                   class action do not amend within 60 days thereafter or within the time to amend
                                                       2
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 1                  specified by the court in the Securities Class Action.
 2           3.     Alternatively, any party may terminate the stay of proceedings on 20 days’ notice
 3                  to counsel for all other Parties by email.
 4           4.     Any conferences currently scheduled in this matter shall be postponed until after
 5                  the stay of proceedings is terminated.
 6           5.     Upon termination of the stay of proceedings in this matter, the Parties shall meet
 7                  and confer and submit a proposed scheduling order for the Court’s approval
 8                  within two weeks of the date that the stay is lifted.
 9    DATED: January 19, 2022                           DATED: January 19, 2022

10    WILK AUSLANDER LLP                                LEVERTY & ASSOCIATES LAW CHTD
11    /s/Michael Van Riper                              /s/Patrick R. Leverty
12    Jay S. Auslander                                  PATRICK R. LEVERTY
      Natalie Shkolnik                                  Reno Gould House
13    Aari Itzkowitz                                    832 Willow Street
      Michael Van Riper                                 Reno, NV 89502
14    825 Eighth Avenue, Ste. 2900                      pat@levertylaw.com
      New York, New York 10019                          Liaison Counsel for Plaintiffs
15    (212) 421-2902 tel
16    (212) 752-6380 fax                                THE BROWN LAW FIRM, P.C.
      jauslander@wilkauslander.com                      Timothy Brown
17    nshkolnik@wilkauslander.com                       767 Third Avenue, Ste. 2501
      aitzkowitz@wilkauslander.com                      New York, NY 10017
18    mvanriper@wilkauslander.com                       tbrown@thebrownlawfirm.net
      Counsel for Defendants                            Co-Lead Counsel for Plaintiffs
19

20    FOX ROTHSCHILD LLP                                THE ROSEN LAW FIRM, P.A.
                                                        Phillip Kim
21    /s/Colleen E. McCarty                             275 Madison Avenue, 40th Fl.
      MARK J. CONNOT (10010)                            New York, NY 10016
22    COLLEEN E. MCCARTY (13186)                        pkim@rosenlegal.com
      1980 Festival Plaza Drive, Ste. 700               Co-Lead Counsel for Plaintiffs
23
      Las Vegas, NV 89135
24    mconnot@foxrothschild.com
      cmcarty@foxrothschild.com                            IT IS SO ORDERED.
25    Liaison Counsel for Defendants
                                                           Dated this ____
                                                                       21 day of January, 2022.
26

27

28                                                         ___________________________
                                                           Gloria M. Navarro, District Judge
                                                           UNITED STATES DISTRICT COURT

                                                3
